                                    JURY QUESTIONNAIRE


                                Instructions for Jury Questionnaire
        This questionnaire is designed to obtain information about your background as it is
related to your service as a juror in this case. Its use will substantially shorten the jury selection
process. The purpose of these questions is to determine whether prospective jurors can
impartially decide this case based solely on the evidence presented at trial and the instructions on
the law given by the presiding judge. All information contained in this questionnaire will be kept
confidential and under seal.
       Please write your assigned juror number at the top of each page. Respond to each
question. Your candor and honesty is necessary so that both the prosecution and the defense will
have a meaningful opportunity to select an impartial jury. Your cooperation is of vital
importance.
        You are sworn to give true and complete answers and those answers will be available
only to the Court and the parties in this case. You are instructed not to discuss this case or the
questionnaire with anyone, including your family and fellow jurors.
       Please fill out the entire questionnaire. Do not leave any questions blank. If a question
does not apply to you in any way, write “N/A” rather than leaving the form blank.




              PLEASE PRINT LEGIBLY - PLEASE USE ONLY BLACK INK
Juror Number: ____________
 
Personal Information
    1. Name: _________________________________________________________

    2. Sex: _______________

    3. Date of Birth: ____________________________________________________

    4. Place of Birth: ____________________________________________________


Residence
    5. Address: _________________________________________________________

    6. How long have you lived in Northern Virginia: __________________________



Family Background
    7. Please indicate your marital status:

       _______ Single and never married
       _______ Currently married and have been for _____ years
       _______ Single, but married in the past for _____ years
       _______ Widowed, but married in the past for _____ years
       _______ Other: ____________________________________________________


Employment
    8. Are you employed?

       _____ Yes              _____ No

       A. If employed, what is your current occupation / job title? _________________
       __________________________________________________________________
       B. Name of employer: _______________________________________________

       C. How long have you been employed at your current job?___________________




                                                                                        2
 
Juror Number: ____________
 
    9. If unemployed, please describe other responsibilities that you have (childcare, school,
       etc.)

       _____________________________________________________________________

       _____________________________________________________________________

    10. If you are retired or between jobs, what type of work had you been doing?

       _____________________________________________________________________

       _____________________________________________________________________

    11. Is your spouse or companion who lives with you employed?

       _____ Yes              _____ No

       A. If employed, what is their current occupation / job title? ____________________
       _____________________________________________________________________
       B. Name of spouse’s or companion’s employer: _____________________________
       _____________________________________________________________________


Education
    12. Check the highest level of education for you and your spouse or companion:

                                                     You     Spouse/
                                                             Companion
       A.   Grade school or less                     _____   _____
       B.   Some high school                         _____   _____
       C.   High school graduate                     _____   _____
       D.   Technical or business school             _____   _____
       E.   Some college                             _____   _____
       F.   College degree                           _____   _____
       G.   Graduate degree (and describe area)      _____   _____ Area: _____________

    13. If you are presently a student, please describe briefly your area of study: ___________
       ______________________________________________________________________
       ______________________________________________________________________


                                                                                                  3
 
Juror Number: ____________
 
    14. Do you have any difficulty speaking, understanding, reading or writing the English
        language?

       _____ Yes              _____ No

       A. If yes, please explain the degree of difficulty: _____________________________
       _____________________________________________________________________
       _____________________________________________________________________


News/Media
    15. What is your main source for news? [Check the one you rely on the most.]

       _____ Newspapers/Magazines
       _____ TV or Radio
       _____ Internet/Social media websites

    16. Please list any newspapers, magazines, TV or radio shows, or Internet or social media
        websites that you read, watch, or listen to on a regular basis:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


Military Service
    17. Have you or your spouse or companion ever served in the armed forces?

       _____ Yes              _____ No

       A. If yes, please answer the following, both as to yourself and/or your spouse or
          companion:
                                                    You                    Spouse/Companion

                   Branch and highest rank or rate ______________         ________________

                   Dates of Service                 ______________        ________________




                                                                                                4
 
Juror Number: ____________
 
Home Ownership and Financing
    18. Have you ever had a foreign bank account?

       _____ Yes             _____ No

    19. Do you or your spouse own a home?

       _____ Yes             _____ No

       A. If yes, have you now or in the past held a mortgage on that property?

       _____ Yes             _____ No

       B. If yes, please provide a brief description of any financial institution from which you
          obtained a mortgage and the amount of the mortgage:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


    20. Have you or your spouse ever refinanced a home mortgage?

       _____ Yes             _____ No

       A. If yes, please provide a brief description of any financial institution from which you
          obtained the refinancing and the amount that was refinanced:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


    21. Has a bank ever foreclosed on any property owned by you or your spouse?

       _____ Yes             _____ No


    22. Have you ever been denied a mortgage loan?

       _____ Yes             _____ No



                                                                                                   5
 
Juror Number: ____________
 
       A. If yes, please briefly describe the circumstances and the denial and whether your
          experience would prevent or hinder you in any way from rendering a fair and
          impartial verdict in this case based solely on the evidence presented and the Court’s
          instructions on the law?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


Criminal Justice Experience
    23. Have you, or has any member of your family or close friend or relative, ever been the
        victim of or witness to a crime, whether or not that crime was reported to law
        enforcement authorities?

       _____ Yes              _____ No

       A. If yes, please provide the following information for each person and incident:


Relationship Type of Crime Victim / Witness? Police Report? Was Anyone Caught? Outcome?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


    24. Have you, or has any member of your family or close friend or relative, ever been
        accused of, arrested for, or charged with a crime?

       _____ Yes              _____ No

           A. If yes, please provide the following:
Relationship (myself, dad, etc.) Crime Charged Case Outcome?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

                                                                                                  6
 
Juror Number: ____________
 
       B. If yes, please provide a brief description of the alleged crime(s) and the events
          leading up to the accusation, arrest, or charge:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
       C. If yes, do you feel that you, your family member, close friend, or relative were/was
          treated fairly by the criminal justice system?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


    25. Have you, or has any member of your family or close friend or relative, ever been audited
        by the Internal Revenue Service?

       _____ Yes              _____ No

       A. If yes, please provide the following:
Relationship (myself, dad, etc.)   Date of Audit Outcome?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
       B. If yes, do you feel that you, your family member, close friend, or relative were/was
          treated fairly by the Internal Revenue Service?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


                                                                                                 7
 
Juror Number: ____________
 
      26. Apart from jury service, have you ever been involved in any legal proceeding, in any
          capacity, for example as a plaintiff, defendant, victim, lawyer, witness, or expert?

          _____ Yes               _____ No

          A. If yes, please state when and explain why you appeared in court:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
          B. If yes, did the legal process in that instance operate fairly in your opinion?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


Jury Service
      27. Have you ever served as a juror at a trial in a federal, state, or local court prior to today?

          _____ Yes               _____ No

          A. If yes, without disclosing the verdict that you reached, please complete the following
             for each trial on which you served as a juror:
    Criminal or    Type of      When did          Where did       Did the jury reach a unanimous
    Civil?         Allegations? you serve?        you serve?      verdict or, if permitted by the
                                                                  applicable law, a majority verdict?

______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


      28. Have you ever served as a juror on a grand jury in federal or state court?

          _____ Yes               _____ No


                                                                                                           8
 
Juror Number: ____________
 
       A. If yes, when and where: ________________________________________

       B. If yes, was the grand jury on which you served able to reach agreement on the
          issuance of true bills?

           _____ Yes          _____ No

       C. If your answer to the prior question is no, describe the nature of the case or cases on
          which the grand jury on which you served was unable to reach agreement on the
          issuance of true bills.
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


Law Enforcement
    29. Have you, or any members of your family, ever been employed by any law enforcement
        agency, such as: a police department, sheriff’s department, constable’s office, the Federal
        Bureau of Investigation (FBI), the Drug Enforcement Administration (DEA), the Bureau
        of Alcohol Tobacco and Firearms (ATF), the U.S. Marshal’s Service, the U.S. Park
        Police, a United States Attorney’s Office, the United States Department of Justice, a
        District or State’s Attorney’s Office, a probation or parole office, the Bureau of Prisons,
        or any other state, local, or federal law enforcement agency or private security force?

       _____ Yes              _____ No

       A. If yes, for each person (yourself or family member) please indicate the law
          enforcement office or agency, the period of time employed, if known, and a general
          description of the job duties:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




                                                                                                    9
 
Juror Number: ____________
 
       B. If yes, would the law enforcement employment that you described in the previous
          question prevent or hinder you in any way from rendering a fair and impartial verdict
          in this case based solely on the evidence presented and the Court’s instructions on the
          law?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    30. Have you, or any members of your family, ever been employed by the Internal Revenue
        Service?

       _____ Yes             _____ No

       A. If yes, for each person (yourself or family member) please indicate the period of time
          employed, if known, and a general description of the job duties:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
       B. If yes, would the employment that you described in the previous question prevent or
          hinder you in any way from rendering a fair and impartial verdict in this case based
          solely on the evidence presented and the Court’s instructions on the law?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    31. A number of witnesses may be either federal or state law enforcement officers. Would
        you tend to believe or to disbelieve the testimony of any law enforcement witness merely
        because that person is a law enforcement officer?

       _____ Yes             _____ No

       A. If yes, please explain why you would be more or less willing to believe such a
          witness and why:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

                                                                                               10
 
Juror Number: ____________
 
    32. In this case, the United States is represented by the United States Department of Justice
        through Special Counsel Robert S. Mueller, III. Is there anything regarding the Special
        Counsel’s Office that would prevent or hinder you in any way from rendering a fair and
        impartial verdict in this case based solely on the evidence presented and the Court’s
        instructions on the law?

       _____ Yes              _____ No

       A. If yes, please explain why:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


Work Experience
    33. Have you, or any members of your immediate family, ever been employed as an auditor,
        mortgage officer, tax preparer, or accountant?

       _____ Yes              _____ No

       A. If yes, for each person (yourself or family member) please indicate the period of time
          employed, if known, and a general description of the job duties:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
       B. If yes, would the employment that you described in the previous question prevent or
          hinder you in any way from rendering a fair and impartial verdict in this case based
          solely on the evidence presented and the Court’s instructions on the law?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




                                                                                                11
 
Juror Number: ____________
 
    34. Have you, or any member of your immediate family, ever worked as an employee of a
        bank or financial institution?

       _____ Yes             _____ No

       A. If yes, for each person (yourself or family member) please indicate the period of time
          employed, if known, and a general description of the job duties:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
       B. If yes, would the employment that you described in the previous question prevent or
          hinder you in any way from rendering a fair and impartial verdict in this case based
          solely on the evidence presented and the Court’s instructions on the law?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    35. Have you, or any member of your immediate family, ever worked in the legal profession,
        either as a lawyer, paralegal, or in a law office, including a prosecutor’s or public
        defender’s office?

       _____ Yes             _____ No

       A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




                                                                                              12
 
Juror Number: ____________
 


       B. If yes, would the legal employment that you described in the previous question
          prevent or hinder you in any way from rendering a fair and impartial verdict in this
          case solely on the evidence presented and the Court’s instructions on the law:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    36. Have you, or any member of your immediate family, had any legal training, including
        law courses, paralegal programs, or on-the-job training?

       _____ Yes               _____ No

       A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
       B. If yes, would the legal training that you described in the previous question prevent or
          hinder you in any way from rendering a fair and impartial verdict in this case solely
          on the evidence presented and the Court’s instructions on the law:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


Nature of the Evidence and the Charged Crimes
    37. The indictment charges the defendant with bank fraud, filing false tax returns, failing to
        report foreign bank accounts, and related conspiracy offenses. Is there anything about the
        nature of those charges that would make it difficult to be a fair and impartial juror in this
        case?

       _____ Yes               _____ No



                                                                                                  13
 
Juror Number: ____________
 
       A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    38. The indictment charges that certain of the income involved in the tax and bank fraud
        charges was derived from political consulting and public relations work. Is there
        anything about the nature of those charges that would make it difficult to be a fair and
        impartial juror in this case?

       _____ Yes              _____ No

       A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    39. The indictment charges that certain of the income involved in the tax and bank fraud
        charges was derived from work for Ukrainian government officials, politicians, and
        political parties. Is there anything about the nature of those allegations that would make
        it difficult to be a fair and impartial juror in this case?

       _____ Yes              _____ No

       A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    40. Some of the witnesses in this case may be individuals who were involved in crimes
        themselves. They would testify pursuant to a cooperation agreement with the
        government or an immunity order. Is there anything that will prevent you from
        evaluating their testimony fairly and impartially in accordance with the Court’s
        instructions?

       _____ Yes              _____ No




                                                                                                   14
 
Juror Number: ____________
 
       A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


Knowledge of the Case
    41. This case has received significant publicity in the media. Have you seen, read, or heard
        anything at all about this case in any form of media, including newspaper, television,
        radio, or internet?

       _____ Yes              _____ No

       A. If yes, please explain (i) what you have seen, read, or heard, (ii) the source of that
          information, and (iii) when that occurred:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
       B. If yes, has the news coverage or other information you have seen, read, or heard about
          this case caused you to form an opinion about the defendant’s guilt or innocence?

           _____ Yes          _____ No

       C. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




                                                                                                   15
 
Juror Number: ____________
 
       D. Would you be able to put to one side everything you have seen, read, or heard about
          this case and not consider that information at all and decide the case fairly and
          impartially based solely on the evidence presented and the Court’s instructions of
          law?
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    42. Have you, any member of your immediate family, or any close personal friend ever run
        for or held a political office in the federal, state, or local government?

       _____ Yes             _____ No

       A. If yes, would anything about that person’s running for or holding political office
          cause you to form an opinion about the defendant’s guilt or innocence?

       _____ Yes             _____ No

       B. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    43. Do you, any member of your immediate family, or any close personal friend have any
        connection to Ukraine?

       _____ Yes             _____ No

       A. If yes, would anything about that connection to Ukraine cause you to form an opinion
          about the defendant’s guilt or innocence?

       _____ Yes             _____ No

       B. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________



                                                                                               16
 
Juror Number: ____________
 
Miscellaneous
    44. The following is a partial list of individuals who may be associated with this case. Do
        you, to your knowledge, have any personal, family, or business connection of any sort
        with any of them? If yes, please circle the name(s) with which you have such a
        connection and explain that connection in the space below:
___[list to be provided]__________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    45. The jury will be instructed that the defendant is presumed to be innocent throughout the
        trial and that the defendant cannot be found guilty of any offense unless and until the
        government has proven each element of that offense beyond a reasonable doubt. Would
        you find it difficult for any reason to obey that instruction?

       _____ Yes               _____ No

       A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    46. If you are selected as a juror in this case, would it be difficult for you to disregard any
        ideas, notions, or beliefs about the law you may hold and render a fair and impartial
        verdict based solely on the evidence presented and the Court’s instructions of law?
_____________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




                                                                                                      17
 
Juror Number: ____________
 
    47. Do you suffer from any physical or mental condition(s) that would affect your ability to
        pay close and careful attention to the evidence and to render an impartial verdict?

       _____ Yes              _____ No

       A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    48. This trial may run for approximately three weeks. In this respect, you should know that it
        is unlawful for an employer to discharge, threaten to discharge, intimidate, or coerce any
        employee because of the employee’s jury service. Given this, is there any truly exigent
        circumstance that would preclude you from serving on this jury?

       _____ Yes              _____ No

       A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    49. Do you have any moral, religious, or ethical beliefs that prevent you from sitting in
        judgment of another person in a criminal trial?

       _____ Yes              _____ No

       A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




                                                                                                18
 
Juror Number: ____________
 
    50. Is there anything about the nature of this case, including specifically that (i) it involves
        allegations of bank fraud and filing false tax returns and (ii) it involves allegations
        relating to payments for lobbying work on behalf of Ukrainian politicians, that would
        prevent or hinder you in any way from rendering a fair and impartial verdict based solely
        on the evidence presented and the Court’s instructions of law?

       _____ Yes               _____ No

       A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    51. Is there anything about the nature of the questions in this questionnaire that suggests to
        you that you will not be able to sit as fair and impartial?

       _____ Yes               _____ No

       A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

    52. Do you know of any other reason why you cannot sit as a juror in this case and judge
        evidence presented fairly and impartially and apply the law as instructed by the Court?

       _____ Yes               _____ No

       A. If yes, please explain:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________




                                                                                                     19
 
Juror Number: ____________
 
        I, _________________________________, hereby declare under penalty of perjury that
the foregoing answers set forth in this Jury Questionnaire are true and correct to the best of my
knowledge and belief. I have not discussed my answers with others, or received assistance in
completing the questionnaire. I have answered all of the above questions myself.
       Executed in the Eastern District of Virginia, on this ____ day of ______________, 2018.


                                                            ______________________________
                                                            Signature




                                                                                                20
 
